      Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 1 of 18



 1   JON V. SWENSON (SBN 233054)
     BAKER BOTTS LLP
 2   1001 Page Mill Road
     Building One, Suite 200
 3   Palo Alto, CA 94304
     Telephone: (650) 739-7500
 4   Facsimile: (650) 739-7699
 5
     JOHN M. TALADAY (pro hac vice)
 6   ERIK T. KOONS (pro hac vice)
     BAKER BOTTS LLP
 7   1299 Pennsylvania Avenue, N.W.
     Washington, DC 20004-2400
 8   Telephone: (202) 639-7700
     Facsimile: (202) 639-7890
 9
     Attorneys for Defendants Koninklijke Philips N.V., and
10   Philips Electronics North America Corporation
11   Additional Moving Defendants and Counsel Listed on Signature Pages
12                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
13                                SAN FRANCISCO DIVISION
14   In re: CATHODE RAY TUBE (CRT)                Case No. Master File No. 3:07-cv-5944-SC
     ANTITRUST LITIGATION
15                                                MDL No. 1917
     This Document Relates to:
16                                                DEFENDANTS’ JOINT NOTICE OF
     Dell Inc. and Dell Products L.P. v.          MOTION AND MOTION FOR SUMMARY
17   Hitachi Ltd. et al., No. 13-cv-02171         JUDGMENT BASED UPON PLAINTIFFS’
                                                  FOREIGN TRANSACTIONS BARRED BY
18
                                                  THE FTAIA
19
                                                  Judge: Hon. Samuel P. Conti
20                                                Court: Courtroom 1, 17th Floor
                                                  Date: February 6, 2015, 10 a.m.
21

22

23

24

25

26

27
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                      Case No. 07-5944
28   BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                  MDL No. 1917
          Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 2 of 18



 1                                                      TABLE OF CONTENTS
 2                                                                                                                                            Page
 3   NOTICE OF MOTION AND JOINT MOTION FOR SUMMARY JUDGMENT ......................... 1
 4
     MEMORANDUM OF POINTS AND AUTHORITIES .................................................................. 2
 5
     I.       STATEMENT OF THE ISSUE ............................................................................................. 2
 6
     II.      INTRODUCTION ................................................................................................................. 2
 7
     III.     UNDISPUTED MATERIAL FACTS ................................................................................... 3
 8
     IV.      STANDARD OF REVIEW ................................................................................................... 4
 9
     V.       ARGUMENT ......................................................................................................................... 5
10
              A. The FTAIA Bars Plaintiffs’ Claims Based on Wholly Foreign Transactions ................. 5
11

12            B. The Import Exclusion Does Not Apply to the Transactions at Issue ............................... 6

13            C. The Domestic Effects Exception Does Not Apply to the Transactions at Issue .............. 7

14                 1.     Plaintiffs’ Foreign Purchases Fail the “Direct Effects” Test .................................... 7

15                 2.     Plaintiffs’ Purely Foreign Purchases Do Not “Give Rise To” Their Antitrust
                          Claims ..................................................................................................................... 10
16
     VI.      CONCLUSION .................................................................................................................... 12
17

18

19

20

21

22

23

24

25

26
27
28

                                                                               ii
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                                                        Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                                                                    MDL No. 1917
       Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 3 of 18



 1
                                                   TABLE OF AUTHORITIES
 2
                                                                                                                                   Page(s)
 3   CASES
 4   Anderson v. Liberty Lobby, Inc.,
        477 U.S. 242, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986)........................................................... 4
 5
     Animal Sci. Prods., Inc. v. China Minmetals Corp.,
 6
        654 F.3d 462 (3rd Cir. 2011) ..................................................................................................... 6
 7
     Celotex Corp. v. Catrett,
 8      477 U.S. 317, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986)........................................................... 4

 9   Empagran S.A. v. F. Hoffmann–LaRoche, Ltd.,
       417 F.3d 1267 (D.C. Cir. 2005) ............................................................................................... 10
10
     F. Hoffman-La Roche v. Empagran,
11       542 U.S. 155, 124 S. Ct. 2359, 159 L. Ed. 2d 226 (2004)............................. 4, 5, 6, 8, 9, 10, 11
12
     In Re Dynamic Random Access Memory (DRAM) Antitrust Litig.,
13       546 F.3d 981 (9th Cir. 2008) ............................................................................................... 9, 10

14   In re Intel Corp. Microprocessor Antitrust Litig.,
         452 F. Supp. 2d 555 (D. Del. 2006) .......................................................................................... 8
15
     In re Intel Corp. Microprocessor Antitrust Litig.,
16       476 F. Supp. 2d 452 (D. Del. 2007) ........................................................................................ 11
17
     In re Monosodium Glutamate Antitrust Litig.,
18       477 F.3d 535 (8th Cir. 2007) ............................................................................................... 9, 10

19   Japan Line, Ltd. v. Cnty. of Los Angeles,
        441 U.S. 434 (1979) ................................................................................................................ 11
20
     Lotes Co, Ltd. v. Hon Hai Precision Indus. Co.,
21      753 F.3d 395 (2d Cir. 2014) .................................................................................................... 10
22   Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,
23      475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986)........................................................... 4

24   McLafferty v. Deutsche Lufthansa A.G.,
       No. 08-CV-1706, 2009 WL 3365881 (E.D. Pa. Oct. 16, 2009) ................................................ 8
25
     Minn-Chem, Inc. v. Agrium, Inc.,
26      683 F.3d 845 (7th Cir. 2012) ................................................................................................. 6, 7
27   Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Companies, Inc.,
28      210 F.3d 1099 (9th Cir. 2000) ................................................................................................... 4

                                                                           iii
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                                                Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                                                            MDL No. 1917
       Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 4 of 18



 1   Papst Motoren GMbH & Co. KG v. Kanematsu-Goshu (U.S.A.), Inc.,
        629 F. Supp. 864 (S.D.N.Y. 1986) ............................................................................................ 7
 2
     Precision Assocs., Inc. v. Panalpina World Transp. (Holding) Ltd.,
 3
        No. CV-08-42 JG VVP, 2013 WL 6481195 (E.D.N.Y. Sept. 20, 2013)................................... 8
 4
     Sun Microsystems Inc. v. Hynix Semiconductor Inc.,
 5      608 F. Supp. 2d 1166 (N.D. Cal. 2009) ................................................................................ 8, 9

 6   Triton Energy Corp. v. Square D Co.,
         68 F.3d 1216 (9th Cir. 1995) ..................................................................................................... 4
 7
     United Phosphorus, Ltd. v. Angus Chem. Co.,
 8
        131 F. Supp. 2d 1003 (N.D. Ill. 2001) ....................................................................................... 7
 9
     United Phosphorus, Ltd. v. Angus Chem. Co.,
10      322 F.3d 942 (7th Cir. 2003) ..................................................................................................... 5

11   United States v. Hsiung,
        758 F.3d 1074 (9th Cir. 2014) ............................................................................................... 6, 7
12
     United States v. LSL Biotechnologies,
13      379 F.3d 672 (9th Cir. 2004) ..................................................................................................... 7
14

15
     STATUTES
16
     Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a (“FTAIA”) ................ 1, 2, 4, 5, 7, 8, 9
17

18
     OTHER AUTHORITIES
19
     Federal Rule of Civil Procedure 56 ....................................................................................... 1, 4, 11
20
     H.R. Rep. No. 97-686, reprinted in 1982 U.S.C.C.A.N. 2487 (1982) ........................................ 5, 9
21

22   Local Rule 5-1(i)(3) ....................................................................................................................... 16

23

24

25

26
27
28

                                                                             iv
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                                                     Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                                                                 MDL No. 1917
      Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 5 of 18



 1        NOTICE OF MOTION AND JOINT MOTION FOR SUMMARY JUDGMENT
 2   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE that on February 6, 2015, at 10 a.m., or as soon thereafter as
 4   this matter may be heard before the Honorable Samuel P. Conti, Senior U.S. District Court
 5   Judge, U.S. District Court for the Northern District of California, Courtroom No. 1, 17th Fl.,
 6   450 Golden Gate Avenue, San Francisco, California 94102, the moving Defendants listed on the
 7   signature pages below will and hereby do move this Court, pursuant to Federal Rule of Civil
 8   Procedure 56, for summary judgment in Defendants’ favor as to the Sherman Act claims that
 9   Plaintiff Dell Inc. and Dell Products L.P.’s (collectively, “Dell’ or “Plaintiffs”) claims based on
10   purchases by Dell Asia Pacific (Malaysia) Sdn, Dell Company Ltd., Dell (China) Company
11   Ltd., Dell Products (Europe) BV, and Dell Computadores do Brazil, Ltda (collectively, “Dell
12   Foreign Affiliates” or “Foreign Affiliates”) of monitors manufactured outside the United States
13   that incorporated foreign manufactured Cathode Ray Tubes (“CRT-Monitors”), which were
14   then shipped to locations outside the United States. These transactions constitute foreign injury
15   claims that are barred by the Foreign Trade Antitrust Improvements Act, 15 U.S.C. § 6a
16   (“FTAIA”).
17          This Motion is based upon this Notice and Motion, the following Memorandum of
18   Points and Authorities, the Declaration of Tiffany Gelott, and any materials attached thereto or
19   otherwise found in the record, along with the argument of counsel and such other matters as the
20   Court may consider.
21

22

23

24

25

26
27
28
                                                        1
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                               Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                           MDL No. 1917
      Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 6 of 18



 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     STATEMENT OF THE ISSUE
 3          Whether summary judgment should be entered against Dell as the FTAIA bars its
 4   antitrust claims that are based on alleged overcharges on CRT-Monitors that their Foreign
 5   Affiliates purchased that were shipped to them from outside the United States, and that were
 6   then shipped by those same Foreign Affiliates to locations outside the United States.
 7   II.    INTRODUCTION
 8          Plaintiffs are seeking to use this Court as a forum to recover alleged overcharges for
 9   products and transactions that bear no connection to the United States. The products at issue
10   were not purchased in, shipped to or from, or incorporated into finished products in the United
11   States. These claims are barred by the plain language of the FTAIA and are not subject to either
12   of the FTAIA’s narrow exceptions. The FTAIA provides that the Sherman Act, on which
13   Plaintiffs entirely rely, “shall not apply to conduct involving trade or commerce (other than
14   import trade or import commerce) with foreign nations.” Plaintiffs’ claims as to their wholly-
15   foreign transactions fall squarely within the FTAIA’s exemption and should therefore be
16   dismissed.
17          There is no material factual dispute that a substantial portion of the products for which
18   Plaintiffs seek to recover alleged overcharges never touched U.S. soil. At issue here are CRT-
19   Monitors that the Plaintiffs’ Foreign Affiliates purchased abroad, took control of abroad, and
20   resold abroad.   There is no connection to the U.S., making these purchases the kind of
21   “commerce with foreign nations” that the FTAIA precludes. Plaintiffs have lumped these
22   purchases in with U.S. purchases in an attempt to inflate their damage claim, but have no basis
23   under the law for seeking recovery in this Court.
24          The FTAIA is clear that such wholly-foreign transactions cannot form the basis for a
25   U.S. claim. This rule has only two narrow exceptions, neither of which is implicated here.
26   Plaintiffs’ claims neither qualify as “import commerce”—which should be obvious as they were
27   never “imported” into the U.S., nor do they meet the “domestic effects” exception as their
28   wholly-foreign character had no “direct, substantial and reasonably foreseeable effect” on U.S.
                                                      2
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                               Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                           MDL No. 1917
      Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 7 of 18



 1   commerce.
 2          Removing these wholly-foreign purchases from Plaintiffs’ claims will properly
 3   circumscribe those claims to the permissible scope of U.S. law. Thus, summary judgment
 4   should be granted.
 5   III.   UNDISPUTED MATERIAL FACTS
 6          All of Dell’s foreign affiliates and subsidiaries (“Dell Foreign Affiliates” or “Foreign
 7   Affiliates”) assigned their claims to Dell’s U.S. entity, Dell, Inc. Dell First Amended Compl.
 8   ¶ 22. Dell accuses the Defendants of conspiring in violation of the antitrust laws to fix the
 9   prices at which the Dell Foreign Affiliates purchased monitors incorporating the allegedly price-
10   fixed CRTs. Id. at ¶ 20. This motion is directed at the allegedly price-fixed CRTs incorporated
11   into monitors that were manufactured in overseas factories, and purchased by the Dell Foreign
12   Affiliates, but never shipped to the United States.
13          The chain of distribution for these products began with regional buyer teams at each of
14   Dell’s purchasing entities located outside the U.S. issuing purchase orders to foreign monitor
15   manufacturers. Gelott Decl. Ex. A - Dell Suppl. Resp. to Int. No. 8 (June 16, 2014). Those
16   purchasing entities and their locations are as follows: (1) Dell Computadores do Brazil, Ltda.in
17   Eldorado do Sul, Brazil; (2) Dell Products (Europe) BV in Limerick, Ireland; (3) Dell (Xiamen)
18   Company Ltd. and Dell (China) Company Ltd. in Xiamen, China; and (4) Dell Asia Pacific Sdn
19   in Penang, Malaysia. Id. Ex. A - Dell Suppl. Resp. to Int. No. 8 (June 16, 2014); Gelott Decl.
20   Ex. B - Julie French 30(b)(6) Dep. 47:13-17, June 2, 2014 (“French 30(b)(6) Dep.”). Regional
21   buyer teams located at each of these foreign purchasing entities issued purchase orders to
22   foreign monitor manufacturers, paid the invoices, and received shipments of the monitors they
23   had ordered at a foreign location. Gelott Decl. Ex. A - Dell Suppl. Resp. to Int. No. 8 (June 16,
24   2014); Gelott Decl. Ex. B - French 30(b)(6) Dep. 47:13-17.
25          Upon receiving an order from a Dell Foreign Affiliate, the foreign manufacturers
26   shipped the monitors directly to the region that placed the order. Gelott Decl. Ex. B - French
27   30(b)(6) Dep. 175:12-18,176:3-5; 178:19-180:8, 199:15-22.        Those monitor manufacturers
28   either used their own CRTs or purchased the component tube from a foreign CRT supplier. Id.
                                                    3
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                             Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                         MDL No. 1917
      Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 8 of 18



 1   Ex. B at 71:21-72:23. None of the tubes or monitors were manufactured in the United States.
 2   Id. at 175:20-22. At no time did any of the monitors bought by Dell Foreign Affiliates ship to
 3   the United States. Id. Ex. B at 201:14-18. Instead, they were shipped to end-customers within
 4   the Dell Foreign Affiliates’ regions. Id. Ex. B at 160:24-161:9.
 5          As a result, Dell has no evidence that a CRT tube shipped to a Dell Foreign Affiliate
 6   within a monitor they had ordered ever entered the United States.
 7   IV.    STANDARD OF REVIEW
 8          Summary judgment is appropriate “if the pleadings, depositions, answers to
 9   interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
10   genuine issue as to any material fact and that the moving party is entitled to a judgment as a
11   matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265
12   (1986) (citing Fed. R. Civ. P. 56(c)). A party seeking summary judgment bears the initial
13   burden of establishing the absence of a genuine issue of material fact. Id. at 323. To carry its
14   burden on summary judgment, a moving party “must either produce evidence negating an
15   essential element of the nonmoving party’s claim or defense or show that the nonmoving party
16   does not have enough evidence of an essential element to carry its ultimate burden of persuasion
17   at trial.” Nissan Fire & Marine Ins. Co., Ltd. v. Fritz Companies, Inc., 210 F.3d 1099, 1102
18   (9th Cir. 2000) (citation omitted). If the moving party meets its initial responsibility, the burden
19   then shifts to the opposing party to establish that a genuine issue as to a material fact actually
20   does exist. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S.
21   Ct. 1348, 89 L. Ed. 2d 538 (1986). The party opposing summary judgment, however, cannot
22   defeat summary judgment by merely demonstrating “that there is some metaphysical doubt as to
23   the material facts.” Id.; see also Triton Energy Corp. v. Square D Co., 68 F.3d 1216, 1221 (9th
24   Cir. 1995) (“The mere existence of a scintilla of evidence in support of the nonmoving party’s
25   position is not sufficient.”) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252, 106 S.
26   Ct. 2505, 91 L. Ed. 2d 202 (1986)).
27
28
                                                        4
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                            MDL No. 1917
      Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 9 of 18



 1   V.     ARGUMENT
 2          A.     The FTAIA Bars Plaintiffs’ Claims Based on Wholly Foreign Transactions
 3          Plaintiffs argue that the Sherman Act should apply to their foreign purchases and
 4   shipments of CRT-Monitors. The Supreme Court posed a question and provided an answer in
 5   Empagran directly pertinent to these claims: “[w]hy is it reasonable to apply [the Sherman Act]
 6   to conduct that is significantly foreign insofar as that conduct causes independent foreign harm
 7   and that foreign harm alone gives rise to the plaintiff’s claim? We can find no good answer to
 8   the question.” F. Hoffman-La Roche v. Empagran, 542 U.S. 155, 166, 124 S. Ct. 2359, 159 L.
 9   Ed. 2d 226 (2004).
10          There is equally no good answer to why the Sherman Act should apply to Dell’s wholly
11   foreign claims. This is apparent from the plain meaning of the FTAIA text. The general rule
12   set forth in the FTAIA is that the Sherman Act “shall not apply to conduct involving trade or
13   commerce . . . with foreign nations.” 15 U.S.C. § 6a. The Supreme Court summed up this
14   language as “a general rule placing all (nonimport) activity involving foreign commerce outside
15   the Sherman Act’s reach.” 542 U.S. at 162. There seems little doubt that the conduct at issue
16   constitutes “conduct involving trade or commerce . . . with foreign nations” under the plain
17   meaning of the FTAIA as the allegedly price-fixed CRTs never entered the United States.
18          This logical outcome reaffirms the underlying purpose behind the FTAIA to reduce the
19   extra-territorial application of the Sherman Act. The “ultimate purpose” of the FTAIA is to
20   “promote certainly in assessing the applicability of American antitrust law to international
21   business transactions and proposed transactions.” H.R. Rep. No. 97-686 (1982), at 9, reprinted
22   in 1982 U.S.C.C.A.N. 2487, 2494. Congress principally enacted the FTAIA to “assure foreign
23   countries and their citizens that they would not be swept into a U.S. court to answer under U.S.
24   law for actions that were of no legitimate concern to the United States.” United Phosphorus,
25   Ltd. v. Angus Chem. Co., 322 F.3d 942, 960-62 (7th Cir. 2003). The FTAIA, therefore, was
26   designed to strike a balance between foreign sovereignty and the enforcement of U.S. antitrust
27   laws—with the guiding principle being that the FTAIA was intended to “redress domestic
28   injury.” Empagran, 542 U.S. at 165. Any other type of injury was left to foreign nations to
                                                 5
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                            Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                        MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 10 of 18



 1   regulate under their own laws. With the CRTs in question never crossing the borders of the
 2   United States, it is hard to conceive of any domestic injury, let alone any domestic injury
 3   sufficient to shift the FTAIA’s balance towards applying the U.S. antitrust laws to this conduct.
 4          B.      The Import Exclusion Does Not Apply to the Transactions at Issue
 5          The Supreme Court explained that the “technical” language of the Act allows for a
 6   minor exception to the general FTAIA rule that the Sherman Act does not apply to nonimport
 7   activity involving foreign commerce. Empagran, 542 U.S. at 162. The FTAIA says that the
 8   Sherman Act “shall not apply to conduct involving trade or commerce (other than import trade
 9   or import commerce) with foreign nations . . . .” 15 U.S.C. § 6a. This exception remains
10   narrow to ensure that it does not conflict with the FTAIA’s “basic purposes” in that it “properly
11   reflects considerations of comity, and is consistent with Sherman Act history.” Id. at 175.
12          Courts have strictly interpreted the import exclusion to apply only “to transactions in
13   which a good or service is being sent directly into the United States, with no intermediate
14   stops.” Minn-Chem, Inc. v. Agrium, Inc., 683 F.3d 845, 854 (7th Cir. 2012). The Ninth Circuit
15   likewise has interpreted the import exclusion to apply only to “transactions that are directly
16   between the plaintiff purchasers and the defendant cartel members.” United States v. Hsiung,
17   758 F.3d 1074, 1090 (9th Cir. 2014) (citing Minn-Chem, 683 F.3d at 855); see also Animal Sci.
18   Prods., Inc. v. China Minmetals Corp., 654 F.3d 462, 470 (3rd Cir. 2011) (“[T]he import trade
19   or commerce exception ‘must be given a relatively strict construction’”) (citation omitted).
20   Such an interpretation is necessary to avoid the exception swallowing the rule with the Sherman
21   Act applying to such foreign commerce. Defendants only seek summary judgment as to CRT-
22   Monitors manufactured and sold abroad that were shipped directly to locations outside the
23   United States. By definition, such sales involve no U.S. “imports” and thus the “import
24   exclusion” cannot apply to the CRT-Monitors subject to this motion.
25          Plaintiffs’ Foreign Affiliates, not the Plaintiffs themselves, ordered and received
26   shipments of the products.     Any effect of the alleged price fixing on Plaintiffs’ Foreign
27   Affiliates is not actionable under U.S. antitrust law. To hold otherwise grants the Sherman Act
28   unfettered extraterritorial application and contradicts the comity principles emphasized by the
                                                        6
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                              Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                          MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 11 of 18



 1   Supreme Court in Empagran. This is exactly what the Court warned against when it explained
 2   that extraterritorial application of U.S. antitrust laws “creates a serious risk of interference with
 3   a foreign nation’s ability independently to regulate its own commercial affairs.” Empagran, 543
 4   U.S. at 165.
 5          C.      The Domestic Effects Exception Does Not Apply to the Transactions at Issue
 6          Nor can Plaintiffs contort these foreign sales to fit within the domestic effects exception.
 7   In order to establish this exception, Plaintiffs must show both: (1) a “direct, substantial, and
 8   reasonably foreseeable effect on [U.S.] trade or commerce,” and (2) that the effect on U.S.
 9   commerce “gives rise to” their antitrust claims. 15 U.S.C. § 6a. Plaintiffs cannot meet either
10   prong of the domestic effects exception.
11          1.      Plaintiffs’ Foreign Purchases Fail the “Direct Effects” Test
12          The alleged overcharges on Plaintiffs’ Foreign Affiliate purchases do not implicate any
13   effect on U.S. commerce, let alone the “direct effect” necessary to satisfy the first prong of the
14   FTAIA domestic effects exclusion. The Ninth Circuit recently reiterated its consistent view that
15   “[c]onduct has a ‘direct’ effect for purposes of the domestic effects exception to the FTAIA ‘if
16   it follows as an immediate consequence of the defendant[s’] activity.’” Hsiung, 758 F.3d at
17   1094 (citing United States v. LSL Biotechnologies, 379 F.3d 672, 680-81 (9th Cir. 2004)). But
18   here there is no “immediate consequence” on domestic U.S. commerce that follows from the
19   wholly foreign transactions. Indeed, any immediate consequence of Defendants’ alleged price-
20   fixing on Plaintiffs’ Foreign Affiliates, and the CRT-Monitors they bought and sold in those
21   foreign jurisdictions necessarily occurred somewhere other than the United States.
22          Even if these CRT-Monitors somehow later entered the United States further
23   downstream in the distribution chain, which Plaintiffs do not allege, that cannot possibly satisfy
24   the “direct effect” prong of the domestic effect test. This was recognized in Minn-Chem, where
25   the court described such later downstream entry as the “situation in which action in a foreign
26   country filters through many layers and finally causes a few ripples in the United States.” 683
27   F.3d at 860.     Many other courts have reached a similar conclusion.             See, e.g., United
28   Phosphorus, Ltd. v. Angus Chem. Co., 131 F. Supp. 2d 1003, 1014 (N.D. Ill. 2001) (“The
                                                 7
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                 Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                             MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 12 of 18



 1   FTAIA explicitly bars antitrust actions alleging restraints in foreign markets for inputs . . . that
 2   are used abroad to manufacture downstream products . . . that may later be imported into the
 3   United States.”); Papst Motoren GMbH & Co. KG v. Kanematsu-Goshu (U.S.A.), Inc., 629 F.
 4   Supp. 864, 869 (S.D.N.Y. 1986) (holding that the “alleged restraint on [plaintiff] in Japan
 5   cannot be said to have an anticompetitive effect upon United States commerce based upon [the]
 6   later sale of [plaintiff’s] manufactured motors in the United States”). Under the facts of this
 7   case, however, there is no evidence that these CRTs or CRT-Monitors ever entered the United
 8   States.
 9             Plaintiffs cannot argue that mere involvement by some U.S.-based procurement
10   executives somewhere in the process satisfies the direct effect nexus. Involvement by U.S.-
11   based procurement executives in the Foreign Affiliates’ purchasing procedures, even if it did
12   occur, cannot be considered as an effect on U.S. “trade or commerce,” and certainly does not
13   constitute a “direct effect” with “immediate consequence” on U.S. commerce.               See, e.g.,
14   Precision Assocs., Inc. v. Panalpina World Transp., (Holding) Ltd., No. CV-08-42 JG VVP,
15   2013 WL 6481195, at *26 n. 24 (E.D.N.Y. Sept. 20, 2013) report and recommendation
16   adopted, 08-CV-00042 JG VVP, 2014 WL 298594 (E.D.N.Y. Jan. 28, 2014) (“the court is
17   reluctant to place any particular weight on the geographical location of the source of payment
18   for goods or services as evidence of an effect on domestic commerce”); McLafferty v. Deutsche
19   Lufthansa A.G., No. 08-CV-1706, 2009 WL 3365881, at *4 (E.D. Pa. Oct. 16, 2009) (“[t]he fact
20   that the supra-competitive prices were paid by persons in the United States does not establish, or
21   even intimate, that the conspiracy directly affected United States commerce”); In re Intel Corp.
22   Microprocessor Antitrust Litig., 452 F. Supp. 2d 555, 561 (D. Del. 2006) (“AMD places great
23   weight on its allegations that it is an American company engaged in a world-wide market;
24   however, such allegations do not create jurisdiction without substantial, direct effects on the
25   domestic market.”) (citation omitted). This issue is central to the FTAIA’s statutory purpose of
26   exempting U.S. exporters from U.S. antitrust law should they meet in the United States to
27   discuss anticompetitive arrangements that “adversely affect only foreign markets.” Empagran,
28   542 U.S. at 161 (“The FTAIA seeks to make clear to American exporters (and to firms doing
                                                  8
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                            MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 13 of 18



 1   business abroad) that the Sherman Act does not prevent them from entering into business
 2   arrangements (say, joint-selling arrangements), however anticompetitive, as long as those
 3   arrangements adversely affect only foreign markets.”).
 4          The principle is well accepted that it is not the location of the allegedly unlawful
 5   conduct that determines whether the FTAIA applies—but rather where the direct effects of that
 6   conduct occur. For example, in Sun Microsystems Inc. v. Hynix Semiconductor Inc., Sun’s
 7   global procurement team based in California established a single worldwide price at which its
 8   subsidiaries ordered Dynamic Random Access Memory (“DRAM”) from DRAM suppliers for
 9   delivery to Sun’s subsidiaries. See Sun Microsystems Inc. v. Hynix Semiconductor Inc., 608 F.
10   Supp. 2d 1166, 1173 (N.D. Cal. 2009). But the court found that Sun’s foreign subsidiaries,
11   rather than Sun itself, suffered any alleged injury. Id. at 1190. Any injury that Sun may have
12   suffered itself was only derivative of the injuries suffered by its foreign subsidiaries and Sun’s
13   evidence was deemed insufficient to establish the necessary proximate cause required by the
14   FTAIA. Id.
15          Unlike DRAM, Dell’s Foreign Affiliates did not even purchase CRTs, they were sold
16   monitors by overseas monitor manufacturers, which they shipped to foreign locations. Thus,
17   any alleged injury was suffered directly by the Foreign Affiliates, not by Dell, and fails to
18   establish the effect required to satisfy the first prong the FTAIA. See also In Re Dynamic
19   Random Access Memory (DRAM) Antitrust Litig., 546 F.3d 981, 988-89 (9th Cir. 2008) (“The
20   defendants’ conspiracy may have fixed prices in the United States and abroad, and maintaining
21   higher U.S. prices might have been necessary to sustain the higher prices globally, but
22   [plaintiff] has not shown that the higher U.S. prices proximately caused its foreign injury of
23   having to pay higher prices abroad. . . [plaintiff’s] indirectly linked foreign injury is not of the
24   type that Congress intended to bring within the Sherman Act’s reach when it enacted the
25   FTAIA.”) (citation omitted); In re Monosodium Glutamate Antitrust Litig., 477 F.3d 535, 539-
26   40 (8th Cir. 2007) (“The domestic effects of the price fixing scheme (increased U.S. prices)
27   were not the direct cause of the appellant’s injuries. Rather, it was the foreign effects of the
28   price fixing scheme (increased prices abroad).”); H.R. Rep. No. 97-686, reprinted in 1982
                                                    9
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                            MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 14 of 18



 1   U.S.C.C.A.N. 2487, 2490 (“it is the situs of the effects as opposed to the conduct, that
 2   determines whether United States antitrust law applies.”).
 3          2.      Plaintiffs’ Purely Foreign Purchases Do Not “Give Rise To” Their Claims
 4          In addition to failing to prove that their purely foreign purchases had any direct domestic
 5   effect, Plaintiffs cannot establish that any purported domestic effect “gives rise” to their claims.
 6   15 U.S.C. § 6a(2). The Supreme Court explained in Empagran that the statutory phrase “gives
 7   rise to a claim” is a causal test. 542 U.S. at 173. Plaintiffs must show that the alleged domestic
 8   effect caused their foreign injury. The Ninth Circuit, consistent with the interpretation of other
 9   courts of appeal, has held that the domestic effect must be the “proximate cause” of the
10   plaintiff’s injury. DRAM, 546 F.3d at 987 (“Like the D.C. Circuit and the Eighth Circuit, we . .
11   . adopt a proximate causation standard.); Accord In re Monosodium Glutamate, 477 F.3d at 538
12   (“[T]he statutory ‘gives rise to’ language requires a direct or proximate causal relationship. . .
13   .”) (citation omitted); Empagran S.A. v. F. Hoffmann–LaRoche, Ltd., 417 F.3d 1267, 1271 (D.C.
14   Cir. 2005) (“The statutory language—‘gives rise to’—indicates a direct causal relationship, that
15   is, proximate causation. . . .”) (citation omitted). Most recently, the Second Circuit followed
16   suit. Lotes Co, Ltd. v. Hon Hai Precision Indus. Co., 753 F.3d 395, 414 (2d Cir. 2014) (“. . . the
17   domestic effect must proximately cause the plaintiff's injury.”).
18          Plaintiffs cannot argue that possibly higher prices on CRTs in the U.S. “g[a]ve rise to”
19   allegedly higher prices on CRTs abroad that harmed the Dell Foreign Affiliates. The Ninth,
20   Eighth, Second, and DC courts of appeal have unanimously held that higher prices in the United
21   States cannot be found to have “proximately caused” higher prices abroad. In re Monosodium
22   Glutamate, 477 F.3d at 539-40; Empagran, 417 F.3d at 1270; DRAM, 546 F.3d at 988-89;
23   Lotes, 753 at 414. Instead, it was the higher prices abroad that were the “proximate cause” of
24   the super-competitive pricing overseas. Id. Accordingly, allegedly U.S. higher prices were at
25   best an indirect cause that was not significant enough to constitute a “proximate” cause of the
26   foreign injury. Id.
27          This case is not different in any respect. To the extent that prices of CRTs were
28   allegedly higher in the U.S., those higher U.S. prices could not have “proximately” caused harm
                                                        10
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                            MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 15 of 18



 1   to the Dell Foreign Affiliates. The opposite is also true. Any effects resulting from the Dell
 2   Foreign Affiliates’ transactions overseas did not proximately cause harm to U.S. commerce. As
 3   one court noted, “[i]ndeed, any such effect is not even a factual, ‘but for’ cause of [Plaintiffs]
 4   injury.” Lotes, 753 F.3d at 415. Plaintiffs are basing their U.S. antitrust claims on the effect of
 5   the alleged price fixing relating to Plaintiffs’ Foreign Affiliates, which is not actionable under
 6   U.S. antitrust law. Plaintiffs’ affiliates are foreign customers fully subject to the laws of their
 7   own countries where they may seek redress if they are so entitled. This is consistent with and
 8   upholds the comity principles emphasized by the Supreme Court in Empagran, where the Court
 9   warned that the “extraterritorial application of U.S. law creates a serious risk of interference
10   with a foreign nation’s ability independently to regulate its own commercial affairs.” 542 U.S.
11   at 165.1
12            Furthermore, Plaintiffs cannot argue “[t]he alleged conduct here did have domestic
13   effects, and those effects were harmful enough to rise to ‘a’ claim.” Id. at 173. That theory was
14   litigated and lost in Empagran. The Supreme Court required that each plaintiff must show how
15   “the plaintiff’s claim” or “the claim at issue” resulted from a domestic injury. Id. In other
16   words, Dell’s Foreign Affiliates must show how their claims are a result of an injury in the
17   United States. Because the effect that gives rise to Plaintiffs’ claims related to the Dell Foreign
18   Affiliates’ transactions is foreign—not domestic—Plaintiffs cannot satisfy the “gives rise to”
19   prong of the domestic effects exception by pointing to some domestic effect resulting from U.S.
20   purchases. In re Intel Corp. Microprocessor Antitrust Litig., 476 F. Supp. 2d 452, 457 (D. Del.
21

22

23   1
       The proximate cause standard requires that an effect on U.S. commerce cause the harm that “gives rise” to the
     Plaintiffs’ claims. Here, the Dell Foreign Affiliates were allegedly harmed when they bought the CRT-Monitors
24   abroad. Therefore, there was no effect on U.S. commerce that allegedly harmed the Plaintiffs and the FTAIA bars
     those claims. This means that the Dell Foreign Affiliates do not have a Sherman Act claim based on their purchases
25   of CRT-Monitors--even if they were later shipped to the United States--as the proximate cause of their alleged harm
     occurred when they bought the CRT-Monitors abroad. See Lotes, 753 F.3d at 414 (explaining that where foreign
26   injury later results in domestic effects, such effects do not give rise to a claim). This confirms that Plaintiffs cannot
     claim for any damages they allegedly incurred for CRT-Monitors they purchased abroad even if they were later
27   shipped to the United States.

28
                                                                  11
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                                  Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                                              MDL No. 1917
         Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 16 of 18



 1   2007) (quoting Japan Line, Ltd. v. Cnty. of Los Angeles, 441 U.S. 434, 448 (1979)).2
 2   VI.      CONCLUSION
 3            For the foregoing reasons, Defendants respectfully request that summary judgment be
 4   entered under Fed. R. Civ. P. 56 against all of Plaintiffs’ antitrust claims to the extent that they
 5   are based on alleged overcharges on CRT-Monitors their Foreign Affiliates ordered that were
 6   shipped to them from outside the United States, and that were then shipped by those same
 7   Foreign Affiliates to locations outside the United States.
 8                                                        Respectfully submitted,
 9   DATED: November 7, 2014                              BAKER BOTTS LLP
10                                                        By: /s/ Erik T. Koons
11                                                        JON V. SWENSON (SBN 233054)
                                                          Email: jon.swenson@bakerbotts.com
12                                                        BAKER BOTTS LLP
                                                          1001 Page Mill Road
13                                                        Building One, Suite 200
                                                          Palo Alto, CA 94304
14                                                        Telephone: (650) 739-7500
15                                                        Facsimile: (650) 739-7699

16                                                        JOHN M. TALADAY (pro hac vice)
                                                          Email: john.taladay@bakerbotts.com
17                                                        ERIK T. KOONS (pro hac vice)
                                                          Email: erik.koons@bakerbotts.com
18
                                                          BAKER BOTTS LLP
19                                                        1299 Pennsylvania Avenue, N.W.
                                                          Washington, DC 20004-2400
20                                                        Telephone: (202) 639-7700
                                                          Facsimile: (202) 639-7890
21
                                                          SHEPPARD MULLIN RICHTER & HAMPTON
22

23

24   2
       Plaintiffs have failed to put forth competent evidence that would permit the trier of fact to distinguish between
     alleged damages based on claims that are barred by the FTAIA and those that do not. The failure by Plaintiffs to
25   individually analyze the transactions and to consider the FTAIA means that Plaintiffs have no evidence that the
     domestic effects of the alleged conspiracy “g[a]ve rise to” any particular claim. Even if some transactions remain
26   unaffected by the FTAIA, Plaintiffs cannot recover on all of their purchase claims on the basis that some or even most
     of the claims are unaffected by the FTAIA and remain subject to the Sherman Act. This issue is the subject of
27   another motion. See Defendants’ Joint Notice of Motion and Motion for Summary Judgment Based Upon Plaintiffs’
     Failure to Distinguish Between Actionable and Non-Actionable Damages Under the FTAIA, Nov. 7, 2014.
28
                                                                12
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                                              Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                                          MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 17 of 18



 1                                        By: /s/ Gary L. Halling
                                          GARY L. HALLING (SBN 66087)
 2                                        Email: ghalling@sheppardmullin.com
 3                                        JAMES L. MCGINNIS (SBN 95788)
                                          Email: jmcginnis@sheppardmullin.com
 4                                        MICHAEL W. SCARBOROUGH, (SBN 203524)
                                          Email: mscarborough@sheppardmullin.com
 5                                        SHEPPARD MULLIN RICHTER &
                                          HAMPTON
 6
                                          Four Embarcadero Center, 17th Floor
 7                                        San Francisco, CA 94111
                                          Telephone: (415) 434-9100
 8                                        Facsimile: (415) 434-3947

 9                                        Attorneys for Defendants Samsung SDI America,
                                          Inc.; Samsung SDI Co., Ltd.; Samsung SDI
10
                                          (Malaysia) SDN. BHD.; Samsung SDI Mexico S.A.
11                                        DE C.V.; Samsung SDI Brasil Ltda.; Shenzen
                                          Samsung SDI Co., Ltd. and Tianjin Samsung SDI
12                                        Co., Ltd.
13

14
                                          JENNER & BLOCK LLP
15
                                          By: /s/ Terrence J. Truax
16                                        JENNER & BLOCK LLP
                                          Terrence J. Truax (pro hac vice)
17
                                          Michael T. Brody (pro hac vice)
18                                        353 North Clark Street
                                          Chicago, Illinois 60654-3456
19                                        Telephone: (312) 222-9350
                                          Facsimile: (312) 527-0484
20                                        ttruax@jenner.com
21                                        mbrody@jenner.com

22                                        Brent Caslin (Cal. Bar. No. 198682)
                                          JENNER & BLOCK LLP
23                                        633 West Fifth Street, Suite 3600
                                          Los Angeles, California 90071
24                                        Telephone: (213) 239-5100
25                                        Facsimile: (213) 239-5199
                                          bcaslin@jenner.com
26
                                          Attorneys for Defendants Mitsubishi Electric
27                                        Corporation, Mitsubishi Electric US, Inc. and,
                                          Mitsubishi Electric Visual Solutions America, Inc.
28
                                              13
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                     Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                 MDL No. 1917
     Case 4:07-cv-05944-JST Document 3003 Filed 11/07/14 Page 18 of 18



 1

 2                                               GIBSON, DUNN & CRUTCHER LLP
 3                                               By: /s/ Rachel S. Brass
                                                 GIBSON, DUNN & CRUTCHER LLP
 4                                               Joel S. Sanders Cal. Bar. No. 107234
                                                 Rachel S. Brass Cal. Bar. No. 219301
 5                                               Austin V. Schwing Cal. Bar. No. 211696
                                                 555 Mission Street, Suite 3000
 6
                                                 San Francisco, CA 94105-2933
 7                                               Telephone:     (415) 393-8200
                                                 Facsimile:     (415) 393-8306
 8                                               Email: jsanders@gibsondunn.com
                                                         rbrass@gibsondunn.com
 9                                                       aschwing@gibsondunn.com
10                                               Attorneys for Defendants Chunghwa Picture Tubes,
                                                 Ltd. and Chunghwa Picture Tubes (Malaysia) SDN.
11                                               BHD.
12

13

14

15          Pursuant to Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of this
16   document has been obtained from each of the above signatories.
17

18

19

20

21

22

23

24

25

26
27
28
                                                      14
     DEFS.’ JOINT NOTICE OF MOT. AND MOT. FOR SUMMARY JUDGMENT                             Case No. 07-5944
     BASED UPON PLAINTIFFS’ FOREIGN TRANSACTIONS BARRED BY THE FTAIA                         MDL No. 1917
